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                    EXHIBIT 33
Case 2:10-md-02179-CJB-DPC Document 11988-34 Filed 12/16/13 Page 2 of 2



Complo)': Gllm J Lemer A Professional Corp
Requester: Cah7tl,Jetf
                                                                                             Merrill Lynch
Run Date: 0712212013 2 '23:43 PM PDT
Dale fum~: 06/0512013-0610512013

  Domestic High Value (Wlre)

                          St.NS: Conf•med by B~nk                         Template Name:            Crown to Old Crown
           Tl1ln$ac:llon N11mber. 13605C37067POES2                            Templ1to Cado:        13

  Otblt Ace<>.,ntlnformatlon

                     OtbltBw:       122400724
                Dob;t Acc.ounr.     501014080152
         Oel>lt Account Namo:       Crown Ll.C
               Ooblt c~nency:       uso


            S.noRci•ry Namo:        Crown.UC                             Btneficlory Account: 0138911741
         Btneficlory Addrus:        1135 GroV~cr S~eel                   B"n~ficiary Bank ID: 062005690
              B~noflcl4ry City:     NewO~eans                                                  REGIONS BANK
      Beneficiary PosiAI Coda:      70112                                                      1900 rn-1 AVE NORTH
          Banoflcl~ry Coun~ty:      US-United Slates of Ament8                                 BIRMINGHAM
                                                                                               US-United Stales of America
                                                                           B•n•ftelary Em.oll:
                                                                   B•nonclory Mobil• Number.

  Poymont Oct=~lls

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               Cre<llt Amount:      19,035.02

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   StndK< RUtronco Number.          C.5eyThoM

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                       Approved:    jcanijl                                                 Tim•: 06100/2013 1~7:-48 Al-1 POT
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                 Confl•matlon II:   FEDR:201306058687HU1R0070:;&




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